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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BAIS YAAKOV OF SPRING VALLEY, on
behalf of itself and all others similarly situated,

                                Plaintiff,
                                                              Civil Action
                -v.-
                                                              13 CV 4564 (CS)(PED)
RICHMOND, THE AMERICAN
INTERNATIONAL UNIVERSITY IN
LONDON, INC., and AMERICAN
INSTITUTE FOR FOREIGN STUDY, INC.,

                                Defendants.


                                       NOTICE OF MOTION

        PLEASE TAKE NOTICE that at a date and time to be determined by the Court, the

undersigned counsel for Plaintiff Bais Yaakov of Spring Valley will move before the Honorable

Cathy Seibel, U.S.D.J. at The Hon. Charles L. Brieant Jr. Federal Building & U.S. Courthouse,

Courtroom 621, 300 Quarropas Street, White Plains, New York 10601, for an order: (1)

certifying two Classes for settlement purposes; (2) granting preliminary approval of the

Settlement between the parties pursuant to Rule 23(e) of the Federal Rules of Civil Procedure;

(3) approving of the form and manner of providing notice of the class action and proposed

Settlement to the Members of the Settlement Classes as set forth in the parties’ Settlement

Agreement and Release, dated June 30, 2015; (4) setting a deadline for the members of the two

Settlement Classes to opt of, or object to, the Settlement between the parties; (5) approving The

Garden City Group, Inc. as the Claims Administrator; (6) approving Bais Yaakov of Spring

Valley as Class Representative; and (7) approving Aytan Y. Bellin, Esq. and Roger Furman, Esq.

as Class Counsel.



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       Plaintiff will further move that the Court schedule a hearing for the purpose of

considering whether to: (1) grant final approval of the Settlement Agreement; (2) enter final

judgment in this action; (3) approve an incentive award to Bais Yaakov of Spring Valley; and (4)

approve an award of attorney’s fees and expenses to Aytan Y. Bellin, Esq. and Roger Furman,

Esq.


Dated: White Plains, New York
       July 1, 2015

                                                     Respectfully submitted,

                                                     BELLIN & ASSOCIATES LLC


                                                     By: /s/Aytan Y. Bellin
                                                            Aytan Y. Bellin, Esq.

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                                                     Co-Counsel for the Plaintiff Bais Yaakov of
                                                     Spring Valley and the Classes




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                             CERTIFICATE OF SERVICE

       I hereby certify, under the penalties of perjury, that this document filed through the ECF
system, will be sent electronically to all counsel of record by the ECF system.

DATED: July ___, 2015

/s/ Aytan Y. Bellin
Aytan Y. Bellin, Esq.




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